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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 25-5052                                                 September Term, 2024
                                                                        1:25-cv-00385-ABJ
                                                   Filed On: May 20, 2025 [2116659]
Hampton Dellinger, in his personal capacity
and in his official capacity as Special
Counsel of the Office of Special Counsel,

               Appellee

       v.

Scott Bessent, in his official capacity as
Secretary of the Treasury, et al.,

               Appellants

                                      MANDATE

      In accordance with the order of March 27, 2025, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Daniel J. Reidy
                                                          Deputy Clerk




Link to the order filed March 27, 2025
